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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 1:10-cr-00419-DAD
12                      Plaintiff,
13          v.                                        ORDER DENYING DEFENDANT’S
                                                      MOTION FOR REDUCTION OF SENTENCE
14   ROBERTO MENDOZA-BALLARDO,                        PURSUANT TO 18 U.S.C. § 3582(C)
15                      Defendant.                    (Doc. No. 204)
16

17          On March 17, 2016, defendant Roberto Mendoza-Ballardo filed a motion under 18 U.S.C.

18   § 3582(c)(2), seeking a reduction in his previously imposed sentence based upon Amendment 782

19   to the United States Sentencing Guidelines (“U.S.S.G.”). That amendment revised the Drug

20   Quantity Table in U.S.S.G. § 2D1.1 and reduced by two levels the offense level applicable to

21   many federal drug trafficking offenses. (Doc. No. 204.) The government has opposed

22   defendant’s motion on the basis that, since the drug quantity involved in his offense of conviction

23   was more than 90,000 kilograms of marijuana, the advisory sentencing guidelines would provide

24   for the same offense level and the same sentencing range as originally calculated in his case

25   despite application of Amendment 782. (Doc. No. 205, at 4.) Thee court agrees and will

26   therefore deny defendant’s motion for a reduction of sentence pursuant to 18 U.S.C. § 3582(c).

27          Section 3582(c)(2) authorizes district courts to modify a previously imposed sentence “in

28   the case of a defendant who has been sentenced to a term of imprisonment based on a sentencing
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 1   range that has subsequently been lowered by the Sentencing Commission.” United States v.

 2   Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013). Effective November 1, 2014, the U.S. Sentencing

 3   Commission promulgated Amendment 782 to the U.S.S.G., which generally revised the Drug

 4   Quantity Table and chemical quantity tables across drug and chemical types. The Commission

 5   also voted to make Amendment 782 retroactively applicable to previously sentenced defendants.

 6   However, “[a] reduction in the defendant’s term of imprisonment is not consistent with this policy

 7   statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if . . . an amendment listed

 8   in subsection (c) does not have the effect of lowering the defendant’s applicable guideline range.”

 9   U.S.S.G. § 1B1.10 (a)(2)(B). A district court’s authority to modify a sentence pursuant to an

10   amendment to the advisory guidelines is constrained by the Sentencing Commission. Dillon v.

11   United States, 560 U.S. 817, 826 (2010).

12           In defendant’s case the presentence report (“PSR”) found the amount of controlled

13   substance attributable to him amounted to 100,074 kilograms of marijuana. (PSR at 32.)

14   Applying the Drug Quantity Table in § 2D1.1(c)(1) of the 2011 Guidelines Manual then in effect,

15   the PSR applied a base offense level of 38 to defendant “because the offense involves 30,000

16   kilograms or more of marijuana, specifically, 100,074 kilograms.” (Id. at 13.) The PSR then

17   applied a three-level reduction due to the defendant’s acceptance of responsibility and a two-level

18   addition for his aggravated role in the offense, resulting in a total adjusted offense level of 37.

19   (Id. at 13–14.) Based upon this total offense level of 37 and a criminal history category of I, the

20   PSR concluded that the advisory sentencing guidelines called for a sentence of 210 to 262 months
21   imprisonment. (Id. at 23.) The PSR recommended that the defendant be sentenced to a term of

22   imprisonment at the bottom of that advisory guideline range, i.e. 210 months. (Id. at 32.)

23           On July 9, 2012, the court sentenced defendant to a 210-month term of imprisonment for

24   one count of conspiracy to distribute methamphetamine under 21 U.S.C. § 846, 841(a)(1) and

25   (B)(1)(A). (Doc. No. 171, at 1–2.) On appeal, the parties file a joint motion to vacate and

26   remand which was granted. (Doc. No. 190.) Upon remand from the Ninth Circuit, defendant was
27   resentenced on June 13, 2013, to the same 210 month term of imprisonment. (Doc. No. 197, at

28   1–2.)
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 1            Defendant now moves to reduce his sentence. However, Amendment 782 has not reduced

 2   the guideline range applicable to defendant as the amount of controlled substance attributable to

 3   him amounted to 100,074 kilograms of marijuana. Under the amended Drug Quantity Table of

 4   U.S.S.G. § 2D1.1, the base offense level for an offense involving more than 90,000 kilograms of

 5   marijuana remains at a level 38. After applying the same three-level reduction for acceptance of

 6   responsibility and the same two-level addition for having played an aggravated role in the

 7   offense, defendant’s total adjusted offense level remains 37. At the established criminal history

 8   category of I, defendant’s advisory sentencing guideline range continues to call for a sentence of

 9   210 to 262 months in prison, the same as it did prior to the adoption of Amendment 782.

10            Because the pertinent amendment does not result in a different advisory sentencing

11   guideline range, the defendant is not entitled to a reduction in his sentence pursuant to 18 U.S.C.

12   § 3582(c). United States v. Leniear, 574 F.3d 668, 673-74 (9th Cir. 2009) (“[A] reduction in the

13   defendant’s term of imprisonment . . . is not consistent with this policy statement if . . . an

14   amendment . . . is applicable to the defendant but the amendment does not have the effect of

15   lowering the defendant’s applicable guideline range [.]”).

16            For all of the reasons set forth above:

17            1.) Defendant’s motion for a reduction of sentence pursuant to 18 U.S.C. § 3582 (Doc.

18               No. 204) is denied; and

19            2.) The Clerk of the Court is directed to close this case.

20   IT IS SO ORDERED.
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     Dated:     May 31, 2016
22                                                          UNITED STATES DISTRICT JUDGE

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